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                          Case 6:21-bk-01013-LVV         Doc 38      Filed 08/20/21      Page 6 of 11
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                    F      *LYHQWKHLQIRUPDWLRQDYDLODEOHDWWKLVWLPHWKH7UXVWHHKDVPDGHDQHGXFDWHGHYDOXDWLRQ

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                                 Case 6:21-bk-01013-LVV              Doc 38       Filed 08/20/21        Page 7 of 11
Label Matrix for local noticing                       Aria Lynn Westfall                                   Bank of America, N.A.
113A-6                                                11606 Grace Lane                                     P O Box 982284
Case 6:21-bk-01013-LVV                                Clermont, FL 34711-9340                              El Paso, TX 79998-2284
Middle District of Florida
Orlando
Fri Aug 20 12:11:07 EDT 2021
Jacksonville Electric Authority                       Navy Federal Credit Union                            (p)PORTFOLIO RECOVERY ASSOCIATES LLC
21 W. Church Street                                   P.O. Box 3000                                        PO BOX 41067
Jacksonville, FL 32202-3152                           Merrifield, VA 22119-3000                            NORFOLK VA 23541-1067



Resurgent Receivables, LLC                            Teresa M Hair +                                      Richard B Webber +
Resurgent Capital Services                            Brock and Scott, PLLC                                Post Office Box 3000
PO Box 10587                                          2001 Northwest 64th Street, Suite 130                Orlando, FL 32802-3000
Greenville, SC 29603-0587                             Fort Lauderdale, FL 33309-1855


Sean A Espenship   +                                  Patrick Allen Hruby +                                Note: Entries with a ’+’ at the end of the
Espenship Schlax   & Albee LLC                        Brock & Scott, PLLC                                  name have an email address on file in CMECF
200 East Forsyth   Street                             2001 Northwest 64th Street, Suite 130
Jacksonville, FL   32202-3320                         Fort Lauderdale, FL 33309-1855




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Portfolio Recovery Associates, LLC
POB 41067
Norfolk VA 23541




                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Navy Federal Credit Union                          End of Label Matrix
P.O.BOX 3000                                          Mailable recipients    11
MERRIFIELD, VA 22119-3000                             Bypassed recipients     1
                                                      Total                  12
                               Case 6:21-bk-01013-LVV                       Doc 38         Filed 08/20/21             Page 8 of 11

                                                                                 "A"
                Aria L Westfall
                96034 Out Creek Way
                Yulee FL 32097-6589


                                                                                    RE: 11606 Grace Ln
                                                                                        Clermont FL 34711
                                                                                        Aria L Westfall


                Statement Date August 10, 2021                                                        Loan Number 7297301173

                Bankruptcy Notice: Please be advised that this notice is for informational
                purposes only and is not an attempt to collect or recover debt. However, we
                reserve all rights and remedies under the security instrument subject to any
                applicable bankruptcy or other law.

                Pursuant to your request, payoff of the outstanding amount of the loan as of
                August 24, 2021 totals $ 425,529.09 as detailed below. Payment of
                this amount and release of the lien may be subject to approval by the
                bankruptcy court.

                The current total unpaid Principal Balance is:                 385,749.84                      $
                Interest at 4.62500%                                            26,398.80
                Escrow Deficiency                                               12,660.59
                PMI Due                                                            521.86
                Servicer Advances*                                                 188.00
                Total Amount Due for Lien Release:                             425,519.09
                Lien Release Cost                                                   10.00
                                                                       ___________________
                ***TOTAL AMOUNT DUE***                               $         425,529.09
                * This amount may include allowable attorney fees and costs, property
                  preservation expenses, inspection fees, and/or other expenses authorized
                  by your loan documents, subject to applicable bankruptcy law.


                XP801/028/AYC




                                                                                                                                             Page 2

                          Exclusive address for Information Requests and Error Resolution: PO Box 110, Hattiesburg, MS 39403-0110
       “Regions Bank may be a debt collector under applicable law.This communication may be deemed an attempt to collect a debt,and any information obtained could be
  used for that purpose. If you area successorininterest,this notice doesnot make youliable for the mortgagedebt,and you will only be liable for the mortgage debtifyou
Confidential
  assumethemortgageloanobligationunderStatelaw.”•Onceenrolled,loaninformationisavailable24hoursaday,7daysaweekatregionsmortgage.com
                                                                    “Regions is an Equal Housing Lender.”
                               Case 6:21-bk-01013-LVV                       Doc 38         Filed 08/20/21             Page 9 of 11




                                                                                                                 Loan Number 7297301173

                Mail Funds to:                  or                                               Wire Funds to:
                Regions Bank                                                                     Regions Bank
                Attention Cashiering Department                                                  ABA or Routing Number 062005690
                7130 Goodlett Farms Parkway A4W                                                  Account Number 4905758
                Cordova TN 38016                                                                 Loan Number 7297301173

                If this payoff statement was requested by an authorized agent on behalf of
                the borrower, please provide a copy of this statement to the borrower(s)
                listed on page 1 prior to closing.

                Issuance of this statement does not suspend the contract requirement to make
                the loan payments when due, subject to applicable bankruptcy law. Because
                interest, principal, late charges, other charges or advances, and credits
                may vary from day to day, this payoff amount may change over time to the
                extent allowed by applicable bankruptcy law. If the total amount due is not
                received by August 24, 2021, additional interest may be added at the rate
                of $ 48.88 interest per day (per diem). If applicable, we may continue
                to pay property tax or insurance premiums. If you have questions about
                pending disbursements, please call us. To ensure you have an accurate payoff
                quote, you may order another payoff statement the day of closing, or one
                business day before the actual payoff, without charge for processing.

                Payments we receive that are not in the form of a valid check, money order,
                or wire for the correct amount are subject to delays or return. If we
                receive funds for less than the Total Amount Due for Lien Release, the funds
                may be returned, and the lien may not be released. If the funds are not
                returned, to the extent allowed by the bankruptcy court and/or applicable
                bankruptcy law, they will be applied to the loan in accordance with your
                loan documents, and any remaining balance will still be due.

                Prior to your closing date:
                * Please be aware of any automatic loan payments that may be pending after
                   the payoff statement was issued. You should contact your provider to
                   determine cancellation requirements. We will refund any funds we receive
                   after the loan has been paid in full.
                * Please notify us of any change in your mailing address. We will send any
                   payoff refunds, your year-end IRS 1098 statement, and any other loan
                   documents to the address of record.
                * We will make no further disbursements from this loan for property tax or
                   insurance premiums once the total amount due to release the lien has been
                   received.

                If you need further assistance, please visit our website at
                regionsmortgage.com, call us at 1-800-986-2462, stop by any Regions branch,
                or write us at PO Box 18001, Hattiesburg, MS 39404-8001. As always, we
                appreciate the opportunity to serve you.

                XP801/028/AYC




                          Exclusive address for Information Requests and Error Resolution: PO Box 110, Hattiesburg, MS 39403-0110
       “Regions Bank may be a debt collector under applicable law.This communication may be deemed an attempt to collect a debt,and any information obtained could be
  used for that purpose. If you area successorininterest,this notice doesnot make youliable for the mortgagedebt,and you will only be liable for the mortgage debtifyou
Confidential
  assumethemortgageloanobligationunderStatelaw.”•Onceenrolled,loaninformationisavailable24hoursaday,7daysaweekatregionsmortgage.com
                                                                    “Regions is an Equal Housing Lender.”
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                                                                                            "B"
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 Settlement Statement
  B. Type of Loan
  1.     FHA        2.    FmHA     3. X Conv. Unins. 6. File Number:                             7. Loan Number:                        8. Mortgage Insurance Case Number:
  4.     VA         5.    Conv.Ins 6. None (Cash).       KW-8028

  C. Note: This form is furnished to give you a statement of actual settlement costs. Amounts Paid to and by the settlement agent are shown. Item
           marked "(p.o.c.)" were paid outside the closing; they are shown here for informational purposes and are not included in the totals.
  D. Name and Address of Buyer:                           E. Name and Address of Seller:                           F. Name and Address of Lender:
    Stephanie Bennett                                        Richard Webber as Trustee for the BK                     NextMortgage
                                                             Estate of Aria Westfall




       126-37 Inwood Street                                   ,
       Jamaica, New York 11436                                                                                        ,
  G. Property Location:                                                                 H. Settlement Agent:
   11606 Grace Lane
   Clermont, FL 34711                                                                       Innovative Title Services, LLC

                                                                                        Place of Settlement:                                        I. Settlement Date:
                                                                                            217 N. Westmonte Dr, Suite 1004                            October 08, 2021
                                                                                                                                                       Disbursement Date:
                                                                                            Altamonte Springs, Florida 32714
    PARCEL ID: 0123250910-000-01000                                                                                                                    October 08, 2021
               J. SUMMARY OF BUYER'S TRANSACTION:                                                        K. SUMMARY OF SELLER'S TRANSACTION:
    100. GROSS AMOUNT DUE FROM BUYER                                                      400. GROSS AMOUNT DUE TO SELLER
    101. Contract sales price                                             465,000.00      401. Contract sales price                                           465,000.00
    102. Personal Property                                                                402. Personal Property
    103. Settlement charges to BUYER (line 1400)                           18,100.00      403.
    104.                                                                                  404.
    105.                                                                                  405.
                    Adjustments for items paid by seller in advance                                       Adjustments for items paid by seller in advance
    106. City/town taxes                  to                                              406. City/town taxes                  to
    107. County taxes                     to                                              407. County taxes                     to
    108. Assessments                         to                                           408. Assessments                         to
    109.                                                                                  409.
    110.                                                                                  410.
    111.                                                                                  411.
    112.                                                                                  412.

    120. GROSS AMOUNT DUE FROM BUYER                                      483,100.00      420. GROSS AMOUNT DUE TO SELLER                                     465,000.00
    200. AMOUNTS PAID BY OR IN BEHALF OF BUYER                                            500. REDUCTIONS IN AMOUNT DUE TO SELLER
    201. Deposit or earnest money                                           4,370.00      501. Excess deposit (see instruction)
    202. Principal amount of new loan(s)                                  400,000.00      502. Settlement charges to seller (line 1400)                        35,325.00
    203. Existing loan(s) taken subject to                                                503. Existing loan(s) taken subject to
    204.                                                                                  504. Payoff of first mortgage loan
                                                                                               Regions Bank                                                   426,789.62
    205.                                                                                  505. Payoff of second mortgage loan

    206.                                                                                  506.
    207.                                                                                  507.
    208.                                                                                  508.
    209.                                                                                  509.
                       Adjustments for items unpaid by seller                                                Adjustments for items unpaid by seller
    210. City/town taxes                  to                                              510. City/town taxes                  to
    211. County taxes        01/01/2021 to 10/08/2021                       2,885.38      511. County taxes        01/01/2021 to 10/08/2021                     2,885.38
    212. Assessments                         to                                           512. Assessments                         to
    213.                                                                                  513.
    214.                                                                                  514.
    215.                                                                                  515.
    216.                                                                                  516.
    217.                                                                                  517.
    218.                                                                                  518.
    219.                                                                                  519.

    220. TOTAL PAID BY/FOR BUYER                                          407,255.38      520. TOTAL REDUCTION AMOUNT DUE SELLER                              465,000.00
    300. CASH AT SETTLEMENT FROM/TO BUYER                                                 600. CASH AT SETTLEMENT TO/FROM SELLER
    301. Gross amount due from buyer (line 120)                           483,100.00      601.Gross amount due to seller (line 420)                           465,000.00
    302. Less amount paid by/for buyer (line 220)                         407,255.38      602. Less reduction amount due seller (line 520)                    465,000.00

    303. CASH        DUE FROM        BUYER                                 75,844.62      603. CASH       DUE TO             SELLER
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MARK - 08/16/2021 4:10:46 PM
KW-8028                                                                                                                                            SETTLEMENT STATEMENT                                 PAGE 2
   L. SETTLEMENT CHARGES:                                                                                                                                              PAID FROM                 PAID FROM
                                                                                                                                                                      BUYER'S                     SELLER'S
   700. TOTAL SALES/BROKER'S COMMISSION based on price $ 465,000.00                   @ 6.00 % =                                                  27,900.00             FUNDS AT                  FUNDS AT
        Division of Commission (line 700) as follows:                                                                                                                 SETTLEMENT                SETTLEMENT
   701. Listing Agent                              $  18,600.00 to Keller Williams Winter Park
   702. Selling Agent                                           $       9,300.00 to Better Homes and Garden Fine Living
   703. Commission paid at Settlement                                                                                                                                                                27,900.00
   704.                                           to
   800. ITEMS PAYABLE IN CONNECTION WITH LOAN
   801. Loan Origination Fee     % of  400,000.00 to
   802. Loan Discount                                   % of        400,000.00 to
   803. Appraisal Fee                                                          to
   804. Credit Report                                                          to
   805.                                                                              to
   806.                                                                              to
   807.                                                                              to
   808.                                                                              to
   809.                                                                              to
   810.                                                                              to
   811.                                                                              to
   812.                                           to
   813.                                           to
   900. ITEMS REQUIRED BY LENDER TO BE PAID IN ADVANCE
   901. Interest from October 08, 2021 to            Days @ $                                                     /day
   902. Mortgage Insurance Premium for            to
   903. Hazard Insurance Premium for              to
   904.                                                                              to
   905.                                                                              to
   1000. RESERVES DEPOSITED WITH LENDER
   1001. Hazard insurance               mo.@ $                                                         /mo.
   1002. Mortgage insurance             mo.@ $                                                         /mo.
   1003. City property taxes                                          mo.@ $                           /mo.
   1004. County property taxes                                        mo.@ $                           /mo.
   1005. Annual assessments                                           mo.@ $                           /mo.
   1006.                                                              mo.@ $                           /mo.
   1007.                                                              mo.@ $                           /mo.
   1008.                                                                             to
   1100. TITLE CHARGES
   1101. Settlement or closing fee                                     1,595.00      to Innovative Title Services, LLC                                                            595.00              1,000.00
   1102.                                                                             to
   1103. Owner's title insurance                                       2,400.00      to Innovative Title Services, LLC                                                                                2,400.00
   1104. Lender's title insurance                                        350.00 to Innovative Title Services, LLC                                                                 350.00
   1105.                                                                        to
   1106.                                                                        to
   1107. Title Search                                                      85.00 to Old Republic                                                                                                         85.00
         (includes above items No:                                                           )
   1108.                                                                             to
           (includes above items No:                                                                   )
   1109. Lender's coverage                       400,000.00 @ 661.00 Includes: ALTA8_1, FF9
   1110. Owner's coverage                        465,000.00 @ 2,400.00
   1111.                                                                   to
   1112. ALTA8_1, FF9                                 to Innovative Title Services, LLC                                                                                           311.00
   1113.                                              to
   1200. GOVERNMENT RECORDING AND TRANSFER CHARGES
   1201. Recording fees:         Deed $    18.50 ; Mortgage $       171.50       ; Release $                                                                                       190.00
   1202. City/County tax/stamps: Deed $ 3,255.00 ; Mortgage $     1,400.00                                                                                                       1,400.00             3,255.00
   1203. State tax/stamps:       Deed $          ; Mortgage $
   1204. Intangible tax                                                  800.00 to Lake County Clerk of Court                                                                     800.00
   1205. Motion to Sell Order                                            100.00 to Lake County Clerk of Court                                                                                          100.00
   1300. ADDITIONAL SETTLEMENT CHARGES
   1301. eRecording Fee                                                     9.00 to Lake County Clerk of Court                                                                       9.00
   1302. Survey                                                          300.00 to Ireland Surveying, Inc.                                                                        300.00
   1303. Municipal Lien Search                                           190.00 to TFG Property Reports                                                                                                190.00
   1304. Transaction Fee                                                 195.00 to Better Homes and Garden Fine Living                                                            195.00
   1305. Closing Coordination                                            395.00 to Ocean Title, LLC                                                                                                    395.00
   1306.                                                                        to
   1307. Buyer Premium                                               13,950.00       to Richard B. Webber, II, as Trustee for the BK estate                                     13,950.00
   1308.                                                                             to

   1400. TOTAL SETTLEMENT CHARGES (enter on lines 103, Section J and 502, Section K)                                                                                            18,100.00            35,325.00
   CERTIFICATION I have carefully reviewed the HUD-1 Settlement Statement and to the best of my knowledge and belief, it is a true and accurate statement of all
   receipts and disbursements made on my account or by me in this transaction. I further certify that I have received a copy of the HUD-1 Settlement Statement.



   Stephanie Bennett                                                                                             Richard Webber as Trustee for the BK Estate of Aria Westfall


                                                                                       Buyers                                                                                                         Sellers
                The Settlement Statement which I have prepared is a true and accurate account of this transaction. I have caused the funds to be disbursed in accordance with this statement.

                                                                                                                               October 08, 2021
                                                                                  Settlement Agent                                                                                                      Date
